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                                                                                                          EXHIBIT G


    DISTRICT COURT, MESA COUNTY, COLORADO
    Court Address:
    MESA COUNTY JUSTICE CENTER, 125 NORTH SPRUCE STREET, GRAND
    JUNCTION, CO, 81501                                   DATE FILED: August 5, 2022 8:52 AM
                                                          CASE NUMBER: 2018CV50
    Plaintiff(s) ALYSSA-CHRYSTIE MONTALBANO et al.
    v.
    Defendant(s) JAMES COREY GOODE


                                                                                                  COURT USE ONLY
                                                                                       Case Number: 2018CV50
                                                                                       Division: 10      Courtroom:

                    Order:Objection to Order on Motion to Transfer Interest and Amend Judgment

    The motion/proposed order attached hereto: GRANTED.

    Judge Timbreza is currently suspended with pay, and I have been covering a large majority of his cases. I was unaware that
    Plaintiff was intending to file an objection and was unable to see how the request made in the motion could prejudice her in
    any way and that she would have any basis under Colorado law to object. Contrary to Plaintiff's position, the order, like all of
    my orders in this case, was not entered out of malice and was entered consistent with Colorado law. In any event, given the
    information provided, my order of 7/20/2022 is vacated as having been improvidently granted and Plaintiff shall have 21 days
    from today's date to file a response to the original motion.

    Issue Date: 8/5/2022




    BRIAN JAMES FLYNN
    District Court Judge




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